       Case 3:19-cr-00009-MEM Document 268 Filed 11/02/23 Page 1 of 2




                  UNITED STATES DISTRICT COURT
                 MIDDLE DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA                             3:CR-19-09

       v.                                        (JUDGE MANNION)

 BRUCE EVANS, SR.


                Defendant

                                   ORDER

      On August 8, 2023, the court sentenced Bruce Evans Sr. to a term of

twenty-four (24) months in federal prison for various violations under the

Clean Water Act (CWA) §1319(c)(2)(A), wire fraud 18 U.S.C. §1343, and

obstruction of correspondence 18 U.S.C. §1702. (Doc. 234) Due to

unanswered questions concerning the proper amount of restitution, the court

deferred that decision for 90 days pursuant to 18 USC §3664( d)(5) to allow

both parties to brief their respective positions. Upon considering the parties'

briefs, the judgment (Doc. 234) is amended to reflect restitution to the victim

Greenfield Township Sewer Authority (GTSA) in the amount of $95,284.22

(representing $3,234.00 for the labor of George Everett, $678.00 for the

educational , test taking, and hotel costs of Bruce Evans Jr., and $91,372.22
       Case 3:19-cr-00009-MEM Document 268 Filed 11/02/23 Page 2 of 2




for the legal fees of the GTSA directly and proximately caused by

Defendant's crimes).

     During the term of imprisonment, restitution is payable every three

months in an amount, after a telephone allowance, equal to 50 percent of

the funds deposited into the Defendant's inmate trust fund account.

     In the event the restitution is not paid in full prior to the commencement

of supervised release , the defendant shall, as a condition of supervised

release, satisfy the amount due in monthly installments of no less than $250 ,

to commence 30 days after release from confinement.




                                        Unite States District Judge

DATE: November 2, 2023




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